98 F.3d 1334
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Thomas Everett CRAWFORD, Petitioner-Appellant,v.William L. SMITH, Warden;  Attorney General of The State ofMaryland, Respondents-Appellees.
    No. 96-6805.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 3, 1996.Decided Oct. 15, 1996.
    
      Thomas Everett Crawford, Appellant Pro Se.  John Joseph Curran, Jr., Attorney General, Tarra R. DeShields-Minnis, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, Maryland, for Appellees.
      Before ERVIN, LUTTIG, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his petition under 28 U.S.C. § 2254 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.   We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.   Crawford v. Smith, No. CA-96-147-JFM (D.Md. Apr. 30, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    